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                    UNITED STATES DISTRICT COURT
                    EASTERN DISTRICT OF MICHIGAN
                         SOUTHERN DIVISION

MASJID AL-FAROOK,


      Plaintiffs,                            CASE NO: 24-cv-11602

                                             HON: Laurie J. Michelson

LODI TOWNSHIP, a Michigan
Municipal corporation, the LODI TOWNSHIP
BOARD OF TRUSTEES, LODI
TOWNSHIP PLANNING COMMISSION,
jointly and severally,

     Defendants.
CAIR-MI LEGAL FUND
By: Amy V. Doukoure (P80461)
Attorney for Plaintiffs
1905 S. Haggerty Road, Suite 5
Canton, MI 48188
(248) 559-2247
adoukoure@cair.com
  FIRST AMENDED COMPLAINT, REQUEST FOR INJUNCTIVE AND
       DECLARATORY RELEIF, DAMAGES AND JURY DEMAND

      NOW COMES, Plaintiffs, MASJID AL-FAROOK, a domestic nonprofit

corporation, by and through its attorneys COUNCIL ON AMERICAN ISLAMIC

RELATIONS-MICHIGAN LEGAL FUND (CAIR-MI LEGAL FUND), by Amy V.

Doukoure, against Defendants LODI TOWNSHIP PLANNING COMMISSION,

and LODI TOWNSHIP BOARD OF TRUSTEES, and in support of their complaint

for declaratory and injunctive relief and damages, avers as follows:

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                                                    PARTIES

         1.      Plaintiff, Masjid Al- Farook , (herein after “Al-Farook”) is a Michigan

domestic nonprofit corporation with business ID#803082075. Its principal place of

business is 2730 W. Ellsworth Road, Ann Arbor 1, Washtenaw County, Michigan. Al-

Farook’s stated mission and purpose is to “establish an Islamic place of worship, to

provide religious guidance and education to community members in and around

Lodi Township,” and “for all express and understood religious purposes.” For the

purposes of RLUIPA, Al-Farook constitutes a religious assembly or institution.

         2.      Defendant Lodi Township (hereinafter “Lodi”) is a Michigan municipal

corporation created and existing by virtue of the laws of the state of Michigan and is

empowered to act through is governing body, its officials, employees and official

bodies. Lodi’s principal place of business is 3755 Pleasant Lake Road, Ann Arbor,

MI 48103. Lodi is a government within the meaning of 42 U.S.C. §2000cc-5(4)(A),

and is subject to the jurisdiction of this Court.

         3.      Defendant Lodi Township Board of Trustees (hereinafter “Trustees”) is

    the body which adopted the Lodi Township Zoning Ordinance (hereinafter “Zoning

    Ordinance”) and the Lodi Township Mater Plan (“Master Plan”). The Trustees have




1
 The mailing address for the subject property, just like the address for the Township’s principal place of
business is listed as “Ann Arbor,” however, both the subject property and the Township’s principal place of
business are indeed situated ﬁrmly within Lodi Township.

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final say and authority regarding zoning applications including applications for

rezoning. The Township Board of Trustees is subject to the jurisdiction of this Court.

      4.     Defendant Lodi Township Planning Commission, (hereinafter

“Planning Commission”) is a body which promulgates, adopted and interprets the

Zoning Ordinance, reviews and makes determinations regarding zoning applications

including applications for rezoning. The Planning Commission is subject to the

jurisdiction of this Court.

                                Jurisdiction and Venue

      5.     This Court has original federal question jurisdiction over Plaintiff’s

claims of violation of the United States Constitution and Religious Land use and

Institutionalized Persons Act of 2000 (“RLUIPA”), 42 U.S.C.§2000cc et seq.,

pursuant to 28 U.S.C. §1331.

      6.     This Court has federal question jurisdiction, pursuant to 28 U.S.C.

§1343 over Plaintiffs’ claims regarding the deprivation under the color of State Law

of rights secured by the First and Fourteenth Amendments to the Constitution of the

United States and the laws of the United States.

      7.     This Court has supplemental jurisdiction over Plaintiff’s State Law

claims, pursuant to 28 U.S.C. §1367.

      8.     This Court has personal jurisdiction over Defendants because

Defendants reside and conduct business in the State of Michigan.

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      9.     This Court has jurisdiction over Plaintiff’s Constitutional claims

pursuant to 42 U.S.C. §1983.

      10.    Plaintiff’s claims for declaratory relief are sought under 28 U.S.C. §§

2201 and 2202.

      11.    Plaintiff seeks permanent injunctive relief, pursuant to Rule 65 of the

Federal Rules of Civil Procedure and 28 U.S.C. §1343.

      12.    Plaintiff’s claims for attorneys’ fees and costs are predicated upon 42

U.S.C. §§1988 and 2000cc-2(d), which authorize the award of attorneys’ fees and

costs to prevailing parties, pursuant to 42 U.S.C. §1983 and RLUIPA.

      13.    Plaintiff’s claims for declaratory and injunctive relief are authorized by

28 U.S.C. §§2201 and 2202, by Rules 57 and 65 of the Federal Rules of Civil

Procedure, and by the general, legal, and equitable powers of this Court.

      14.    Venue is proper under 42 U.S.C. §1391 as to all Defendants because the

proposed site is located within this District, and the acts described herein occurred

within this District.

                                  Nature of This Action

      15.    This is an action for declaratory and injunctive relief arising under the

First and Fourteenth Amendments to the Constitution of the United States, the

Religious Land use and Institutionalized Persons Act of 2000 (“RLUIPA”), 42 U.S.C.

§1988.

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       16.    Lodi Township, Lodi Township Planning Commission, and Lodi

Township Board of Trustees (collectively “Entity Defendants”) have not identified

any compelling government interest in zoning religious institutional uses out of their

township and out of their master plan, nor have they identified any compelling

government interests for creating a master plan that has no zoned districts for

institutional uses and does not allow religious institutional uses without a request for

rezoning.

       17.    The Entity Defendants have not identified any compelling government

interest in the implementation and enforcement of their zoning ordinance which (1)

does not allow religious institutional uses as of right in any district, nor does it permit

religious institutional uses under any special use or conditional use permit; and (2)

the implementation and enforcement of zoning and land use regulations that treat

religious institutional uses differently than similarly situated non-religious

institutional uses.

       18.    Lodi Township Planning Commission has failed to identify any

compelling government interest for recommending the denial and/or denying

Plaintiff’s application for rezoning.

       19.    Lodi Township Board of Trustees has failed to identify any compelling

government interest if failing to make a final decision on Plaintiff’s application for

rezoning.

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      20.    The Entity Defendants have discriminated against Plaintiff on the basis

of religion and religious identity.

      21.    Lodi Township has adopted a Master Plan and Zoning Ordinance on or

about 2019 that completely zones out religious institutions from the entirety of the

township.

      22.    Lodi Township has failed to enforce its Zoning Ordinance and Master

Plan in the least restrictive means possible.

      23.     Lodi Township has unlawfully imposed and implemented a land use

regulation that imposes a substantial burden on the rights of Plaintiff and its

members to the free exercise of religion by means that township officials, themselves

recognize are not the least restrictive means available to Lodi Township to protect

its asserted governmental interest.

      24.    Lodi Township has imposed land use regulations that unreasonably

limit religious assemblies, institutions and structures within the Township and has

discriminated against Plaintiff on the basis of its religious identity.

                                      JURY DEMAND
   25.Plaintiff demands a jury trial as to all claims so triable.

                              THE PROPOSED PROPERTY




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      26.    The property purchased by Masjid Al-Farook to be used as a mosque is

located at 2730 W. Ellsworth Road in Lodi Township, Michigan. It is currently a

single-family residential home.

      27.    The property is situated within the Township’s Agricultural District and

abuts public streets on two sides and residential homes on two sides.

      28.    The lot in which the subject property sits is just over three (3) acres of

land and the building is about 1,357 square feet with another 400 square foot garage.

Plaintiff does not intend to modify the footprint of the structure at all, and intends

only to make modifications internally to the main building.

      29.    Almost directly across the street, on Ellsworth, from the subject

property is a moderate sized Christian church.

THE ZONING ORDINANCE AND MASTER PLAN PRIOR TO JULY 2024

      30.    The Township’s 2019 master plan and zoning ordinance did not carve

out any place where a religious assembly usage is permitted.

      31.    In 2019, the Township updated its Zoning Ordinance to create a new

district known as the Public/Semi Public Services “PSP” District which was

“intended to accommodate dedicated areas of public open space, government

buildings and uses, institutional and recreational uses, schools, churches, and similar

uses of public service or institutional character.” (Zoning Ordinance Section 10.211).



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      32.    When the 2019 Master Plan was adopted in 2020 there were no spaces

carved out or set aside for a PSP district and thus any use designated solely as a use

within the PSP district, such as religious assembly uses, required an application for

rezoning to create a new district for each and every new development or expansion

of existing development. See Exhibit A.

      33.    Pursuant to Article 20- Land use Table- religious institutional uses are

only permitted within the PSP district and are completely zoned out of every other

defined district within the Township. See Exhibit B.

      34.    Currently, there are some spaces within the master plan designated as a

PSP District. However, each one of them currently has a Christian religious

institution that was existing at the time the rezoning and adoption of the Master Plan

went into effect. The Township has only approved a single rezoning to a PSP district

since the implementation of the Master Plan and Zoning Ordinance, and that was to

permit an expansion of a pre-existing Christian religious assembly institution.

      35.    Under the 2019 Zoning Ordinance, a church/temple, place of worship

or religious institution is defined as “a type of institutional use or site used for the

regular assembly of persons for the conducting of religious services and for related

accessory uses, including offices and living quarters for church ministry and other

members of the religious order who carry out their duties primarily on the site,

religious education classes, day care and limited recreation facilities. Rescue

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missions, tent revivals and other temporary assemblies are not included.” (ZO Art.

2)

                                        OVERVIEW

        36.    Masjid Al-Farook is a Michigan non-profit corporation whose aim is

to have an Islamic place of worship in Lodi Township to provide religious services

and education to residents of Lodi Township and surrounding areas. Currently, the

members of Masjid Al-Farook have no place of Islamic worship in Lodi Township.

        37.   Members of Masjid Al-Farook’s community are primarily individuals

and families who reside and work within Lodi Township.

        38.   Furthermore, Masjid Al-Farook members must attend religious worship

and holiday services at various places in Washtenaw and Wayne counties, Michigan

since they have been unable obtain approval from Lodi Township for a permanent

place of worship.

        39.   Masjid Al-Farook first applied for rezoning of the subject property in

September 2021, through the title holder of the property, 762 Properties. A

determination on that application was held in abeyance by the Defendant Planning

Commission when it became apparent that the application was not going to be

approved, and that indeed, there were no circumstances under which a new religious

assembly or institutional use would be able to meet the criteria for rezoning.




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      40.   Masjid Al-Farook agreed to table their application for rezoning based

on the assurances of the Planning Commission that they would be looking to remedy

the issues related to the need to rezone and that they would be revising the zoning

ordinance and master plan.

      41.   After more than two years there was no movement on any amendments

to the zoning ordinance or master plan. As a result, in November 2023, Masjid Al-

Farook requested that their application for rezoning be brought back before the

Planning Commission for a decision on its merits.

      42.   In February 2024, the Planning Commission took up Plaintiff’s

Application for rezoning at its usual meeting, at which time no public comments

were held prior to the Planning Commissions discussion of the application.

Ultimately, the Planning Commission once again recognized the fact that under no

circumstances would an application for rezoning for a new development of a

religious assembly/institutional use be approved and once again tabled Plaintiff’s

application for the purpose of allowing a zoning ordinance amendment.

      43.   In March 2024, the Planning Commission voted to approve an

amendment     to    the   zoning    ordinance    that   would    allow    religious

assembly/institutional uses as a right in all agricultural districts and voted to

recommend denial of Plaintiff’s application for rezoning.




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      44.    In the April 2024 Board of Trustees Meeting, Defendant Trustees did

not make any decisions on the Defendant Planning Commission’s recommendation

to approve a zoning amendment to allow religious institutional uses in the

agricultural district, and instead sent it back to the Planning Commission. During

that same meeting, the Defendant Trustees failed to make a final decision on

Plaintiff’s application for rezoning.

      45.    Since April 2024, neither any amendment of the zoning ordinance that

would allow religious assembly/institutional uses to be present in Lodi Township,

nor any decision on Plaintiff’s application for rezoning have had any final decision,

and instead continue to be held in abeyance.

      46.    Defendant Godek, indicated via email the Township’s and Township

Board of Trustees’ intent to withhold final determination on Plaintiff’s application

for rezoning indefinitely despite Plaintiff’s repeated pleas to make a decision and

insistence on exercising their rights under the law and Constitution.

      47.    As of the date of filing this instant lawsuit, only one application for

rezoning for religious assembly/institutional uses has been approved since the 2019

amendments. That application for rezoning was for a Christian church that was

already in existence who requested a rezoning to engage in an expansion of the

existing building.




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      48.    As of the date of filing the initial complaint in this instant lawsuit, there

was not a single plot of land in Lodi Township where Plaintiff could establish a

religious assembly/institution. Furthermore, Plaintiff has no avenue for remedy short

of filing this lawsuit as it appears that the entity Defendants will not make a final

decision on his application.

      49.    Upon information and belief, all of the amendments to the zoning

ordinance that were being proposed since 2024 by the Entity Defendants for

consideration include substantially different and stricter regulations for religious

institutions than are currently provided for in the zoning ordinance and that are

required of other non-religious assembly/institutional uses.

      50.    As a result of being unable to have a permanent place of worship within

the Township where the majority of its members live and work, AL-Farook has been

unable to hire a full time religious leader, hold regular congregational prayers,

perform religious ceremonies for its members such as Islamic funeral or marriage

ceremonies, provide for the religious, educational and spiritual needs of its members

and the Muslim community in general in Lodi Township resulting in a substantial

burden to the free exercise and right to assemble of the Plaintiff’s community and

Muslims in the Township.

      51.    By not having a single Muslim place of worship within Lodi Township,

members of the Masjid Al-Farook community, as well as other Muslims who live

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and work within the township have had their ability to practice their religion

substantially burden because there is not a single place in the township for Muslims

to attend the required religious congregational prayers, or where they can turn for

religious education or guidance.

      52.    In an effort to provide for the religious needs of its members, and all of

the Muslims in Lodi Township, Masjid Al-Farook decided to purchase the residential

property which is the subject of this litigation. This property was proposed to be used

as a religious place of worship.

                    2024 ZONING ORDINANCE AMENDMENTS

   53. Beginning in February 2024, Defendants began looking at the possibility of

amending the Township Zoning Ordinance purportedly to make it easier for a place

of worship to enter the Township as an “institutional use.”

   54.In the February 2024 Planning Commission meeting, Defendant Godek and

several other Planning Commission members indicated that reviewing and amending

the Zoning Ordinance (ZO) to rectify the issues involving requests for rezoning to

the PSP district would be easily and quickly resolved when challenged about the 180

day requirement for them to make a decision on the Plaintiff’s 2021 rezoning

application. However, that proved to not be the case, and the matter malingered over

several months.




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   55.For instance, in the April 2024 Planning Commission meeting, a discussion

was had about amending the 2019 Zoning Ordinance to allow institutional use as a

either a right or a special use in the agricultural districts within the table of uses in

Article 20, Section 20.04 of the ZO. However, that discussion was tabled to

determine what extra requirements could be added in Section 41.14 related to site

plan requirements for institutional uses.

   56.In that same April 2024 meeting, the Planning Commission reviewed the

recommendation of the Township Planner related to criteria to create new standards

for institutional uses in an agricultural district. The Planning Commission requested

amendments to Section 41.14- Institutional Uses of the Zoning Ordinance including

a minimum gross lot area of 4 acres among other things.

   57. In the May 2024 Planning Commission meeting the Township held a public

hearing regarding amendments to Article 41, Section 41.14 Institutional Uses and

Article 55, Section 55.21 Exterior lighting, both in anticipation of allowing

institutional uses as of right in the agricultural district. According to the minutes of

that meeting, there were no public comments.

   58. After discussion amongst the Planning Commission, the Section 41.14 of the

ZO was amended as follows:

          a. Requiring the minimum gross lot area to be 4 acres;

          b. The minimum lot width is required to be 250 feet;

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          c. The landscaping buffer is required to be 30 feet along property lines

              abutting residential districts or uses;

          d. Institutional uses are required to submit a traffic study as part of the site

              plan process;

          e. The property must be accessed through a main arterial road;

   59.Section 55.21.B- Exterior lighting, additional requirements in subsection 8 to

require exterior lighting to be turned off after 10:00 pm until sunrise, except where

use continues after that time or safety and/or security purposes.

   60.The Planning Commission made the recommendation for the Township Board

of Trustees to adopt the amendments to the Zoning Ordinance as laid out in

Paragraphs 57 and 58 of this Complaint.

   61.In June 2024, the Defendant Board of Trustees took up the Zoning

Amendments as described above, and approved the changes to the institutional use

requirements under ZO section 41.14 identified as resolution 2024-012 which

created stricter requirements than previously existed for institutional uses.

   62. However, the Board of Trustees voted to table the decision on the Planning

Commission’s recommendation to request a finding of fact, related to the lighting

resolution 2024-013- related to the additional lighting requirements and resolution

2024-014 related to amending Article 20 Table of uses to allow institutional uses as

a right in the agricultural district.

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   63.According to Township Attorney Jesse O’Jack the Board of Trustee’s decision

to table the decision and request a finding of fact on the two resolutions (2024-13

and 2024-14) was to determine whether the recommended amendments could be

challenged legally and to determine their impact on Plaintiff’s desire to utilize the

property as a place of worship.

   64. However, it is clear that the resolution that would have the most potential

negative impact on Plaintiff’s requested use of the subject property as a religious

assembly usage was Resolution 2024-0012 which created stricter site plan

requirements with larger lot sizes and larger setback requirements and for the first

time ever a requirement to access an arterial road, yet that is the resolution that

passed without issue.

   65.At the time that the Planning Commission adopted resolution 2024-0012

expanding the site requirements for Plaintiff’s desired institutional use, the ZO still

required an application for rezoning of the subject property and there continued to

be no place in Lodi Township for a religious assembly/institutional use to exist

according to the Zoning Ordinance and Master Plan.

   66.Upon information and belief, after Defendants’ reviewed a finding of fact

pursuant to their June 2024 request, they voted to adopt Resolutions 2024-0013 and

2024-0014 which amended the exterior lighting ordinances for institutional uses and




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amended the table of uses to allow institutional uses as of right in agricultural

districts.

   67.At the time that the Township reviewed findings of fact related to the three

resolutions for amendments to the ZO at issue in this instant matter, they either knew

or should have known that at least two of the newly created site requirements for

institutional uses would preclude Plaintiff from using the subject property as a place

of worship.

   68.For instance, at the time of the investigation of the impact on the amendments

on Plaintiff the Township either knew or should have known that by expanding the

lot size from a minimum of 2 acres to a minimum of 4 acres would preclude Plaintiffs

use of the subject property as an institutional use. This is true because in its

application for rezoning, the Plaintiffs identified the lot size of the subject property

as 3.1 acres.

   69.Additionally, Defendants knew or should have known due to the existence of

the current residential building on the subject property as well as the overall layout

of the property that Plaintiff would be unable to meet the additional, and newly

created, 30 foot setback requirement from adjacent residential properties. This is

especially true, since Defendants should be in possession of the originally approved

site plan for the development of the residential building that currently sits on the

subject property.

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   70.Despite knowing or having reason to know that they created additional

requirements that would either preclude Plaintiff from using the subject property for

the intended use as a place of worship, or would require them to submit substantial

and multiple requests for variances on the subject property, Defendants went forward

with their scheme which would ensure that the Township could remain relatively

free of additional religious institutional uses, including a mosque as desired by

Plaintiff.

                                          Count I
       Violation of Religious Land Use and Institutionalized Persons Act
                               (Religious Exercise)
                    (as to official capacity Defendants only)

       71.   Plaintiff hereby realleges and incorporates by reference all previously

pled paragraphs as if fully set forth herein.

       72.   Defendants have deprived, are aware that they have deprived, and

continue to deprive the Plaintiff of its right to the free exercise of religion by the

Religious Land Use and Institutionalized Persons Act of 2000, 42 U.S.C. §2000cc(a)

et seq., by imposing and implementing a land use regulation that substantially

burdens Plaintiff’s religious exercise.

       73.   Defendants’ 2019 Master Plan and Zoning Ordinance are invalid on

their face according to RLUIPA because the Defendants have zoned the entire

township in a manner that does not provide          Plaintiff or any other religious

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congregation the ability to establish an Islamic, or other religious institution, to carry

out religious prayer services, religious ceremonies and education to its members.

      74.    Without a physical location at which to gather for religious

congregation, prayer and education, the Plaintiff’s ability to administer to the

religious and spiritual requirements and needs of its community members has been

unduly limited and burdened and outright thwarted. The ability to provide for the

religious and spiritual needs to its members is fundamental to Plaintiff’s mission.

The limitations imposed on Plaintiff by Defendants have substantially burdened the

religious exercise of Plaintiff and its members.

      75.    Defendants have denied Plaintiff’s nearly 3 year old application for

rezoning after creating additional and substantial requirements for institutional uses

with its 2024 Zoning Ordinance Amendments as outlined above.

   76.Defendants’ 2024 Amendments to the zoning ordinance, done only after

Plaintiff’s application for rezoning was done with the sole intent to frustrate and

prevent Plaintiff’s ability to use the subject property for a religious

assembly/institutional use.

      77.    By the imposition and implementation of a land use regulation that

imposes a substantial burden on Plaintiff’s exercise of Islam within Lodi Township,

Defendants have required Plaintiff to apply for a rezoning, withheld decision on the




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rezoning for over two years despite repeated demands for a decision, and have

signaled their intent to indefinitely withhold a decision on the rezoning.

       78.     Imposition of such a burden is not in furtherance of a compelling

government interest and is not the least restrictive means of furthering any

governmental interest, compelling or otherwise.

       79.     Plaintiff is entitled to a declaration that denial of the application for

variance is a substantial burden to the free exercise of Plaintiff’s religion, is not

justified by a compelling government interest, and is in violation of RLUIPA.

       80.     Plaintiff is entitled to issuance of a permanent injunction enjoining

Defendants from enforcing any limitation upon Plaintiff’s use of the entirety of the

subject property for religious uses and requiring Defendants to take whatever actions

necessary to permit Plaintiff to undertake such use.

       81.     Defendants’ unlawful actions caused Plaintiff harm and it is entitled to

injunctive, declaratory, compensatory and punitive damages, in addition to all such

other relief this Court deems just and proper including costs and attorneys’ fees in

this action.

       WHEREFORE, Plaintiff respectfully requests this Honorable Court to grant

injunctive relief, compensatory and punitive damages against Defendants, costs and

attorney fees, plus other equitable relief the Court deems just and equitable.

                                             Count II
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            Violation of Religious Land Use and Institutionalized Persons Act
                         (Discrimination on the Basis of Religion)
                          (as to official capacity Defendants only)

      82.    Plaintiff hereby realleges and incorporates by reference all previously

pled paragraphs as if fully set forth herein.

      83.    The 2019 Zoning Ordinance, as applied to Plaintiff, treats this religious

organization and institution on less than equal terms with other religious and non-

religious assemblies and institutions in Lodi Township.

      84.    When Plaintiff went in front of the Planning Commission for a public

hearing on their application for a rezoning to a PSP district, the Planning

Commission made its analysis and ultimate decision to deny Plaintiff’s application

for rezoning based on factors that included analyzing each and every type of use that

may be permitted within the PSP district claiming that they could not look at the

proposed use solely to make its determination whether rezoning was appropriate.

      85.    However, upon information and belief, no similar analysis was done

when the Christian Church applied for rezoning to a PSP district. Indeed, no analysis

at all was done about the types of possible uses for the land should the use change

after the rezoning to a PSP district be approved.

      86.    Defendants’ conduct was prompted or substantially caused by

Plaintiff’s religious exercise in attempting to establish an Islamic place of worship




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on the subject property and was clearly influenced by sectarian opposition to the

presence of an Islamic religious institution in Township.

   87.Defendants’ 2024 Amendments to the zoning ordinance, done only after

Plaintiff’s application for rezoning was done with the sole intent to frustrate and

prevent Plaintiff’s ability to use the subject property for a religious

assembly/institutional use.

      88.    Defendants have deprived, are aware that they deprived, and continue

to deprive Plaintiff of its right to be free from religious discrimination as secured by

RLUIPA, by implementing a land use regulation that discriminates on the basis of

religion.

      89.    Defendants have imposed onerous requirements on Plaintiff that have

not been imposed on any other applicant similarly situated in all material respects,

religious or secular, within the Township.

      90.    Plaintiff is entitled to a declaration that the denial of the application is

discrimination on the basis of Plaintiff’s religion and not justified by a compelling

government interest and is in violation of RLUIPA.

      91.    Plaintiff is entitled to issuance of a permanent injunction enjoining

Defendants from enforcing any limitation upon Plaintiff’s use of the entire property

for religious uses and requiring Defendants to take whatever actions necessary to

permit Plaintiff to undertake such use.

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       92.      Defendants’ unlawful actions caused Plaintiff harm and it is entitled to

injunctive, declaratory, compensatory and punitive damages, in addition to all such

other relief this Court deems just and proper including costs and attorney’s fees in

this action.

       WHEREFORE, Plaintiff respectfully requests this Honorable Court to grant

injunctive relief, compensatory and punitive damages against Defendants, costs and

attorney fees, plus other equitable and relief this Court deems just and equitable.




                                             Count III
               Violation of Religious Land Use and Institutionalized Persons Act
                                  (Limitations and Exclusions)
                            (as to official capacity Defendants only)


       93.      Plaintiff hereby realleges and incorporates by reference all previously

pled paragraphs as if fully set forth herein.

       94.      Defendants have deprived, are aware that they have deprived, and

continue to deprive Plaintiff of its free exercise of religion as secured by RLUIPA,

by imposing and implementing a land use regulation that unreasonably limits

religious assemblies, institutions and structures within Lodi Township.

       95.      Religious institutions were allowed in any zoning district within Lodi

Township pursuant the 2019 Zoning Ordinance, but for individual parcels of land


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where religious institutions are already in existence and were in existence prior to

the adoption of the current Master Plan and Zoning Ordinance.

      96.    Defendants had no constitutionally reasonable basis for their refusal to

approve Plaintiff’s 2021 application for rezoning as submitted. Yet they did so, by

refusing to issue a final decision on the application for nearly three years.

      97.    Additionally, Defendants’ adoption of the 2024 Zoning Ordinance

amendments was done for the sole purpose of creating additional and substantial

barriers to institutional uses, including and specifically religious institutional uses,

through a regulatory scheme that bears no connection to any legitimate government

interest, and was done with actual knowledge that it created a likely insurmountable

burden to Plaintiff given the nature and characteristic of the subject property.

      98.    The imposition of a land use regulation that unreasonably limits

religious assemblies within Lodi Township constitutes an arbitrary and capricious

act with no rational basis.

      99.    Plaintiff is entitled to a declaration that denial of the application, as

submitted, unconstitutionally limits and excludes Plaintiff’s free exercise of religion.

      100. Plaintiff is entitled to issuance of a permanent injunction enjoining

Defendants from enforcing any limitation upon Plaintiff’s use of the entire property

for religious uses and requiring Defendants to take whatever actions necessary to

permit Plaintiff to undertake such use.

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       101. Defendants’ unlawful actions caused Plaintiff harm and it is entitled to

injunctive, declaratory, compensatory and punitive damages, in addition to all such

other relief this Court deems just and proper including costs and attorneys’ fees in

this action.

       WHEREFORE, Plaintiff respectfully requests this Honorable Court grant

injunctive relief, compensatory and punitive damages against Defendants, costs and

attorneys’ fees, plus other equitable relief this Court deems just and equitable.

                                           Count IV
                       Violation of First and Fourteenth Amendment
                              to the United States Constitution
                       (Free Exercise of Religion – 42 U.S.C. §1983)


       102. Plaintiff hereby realleges and incorporates by reference all previously

pled paragraphs as if fully set forth herein.

       103. Defendants have deprived, are aware that they have deprived, and

continue to deprive Plaintiff of its right to free exercise of religion as secured by the

First Amendment to the United States Constitution, made applicable to the States by

the Fourteenth Amendment to the United States Constitution, by discriminating

against Plaintiff because of its religious character and by substantially burdening its

right to freely exercise its religious faith. Plaintiff cannot fully and properly use its

property for religious exercise if it is forced to adhere to zoning regulation



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restrictions prohibit all religious assemblies in every single zoning district currently

available in Lodi Township.

      104. Without a single Islamic place of worship within the Township, Plaintiff,

and its community members’ ability practice their religion is seriously limited.

      105. By the imposition and implementation of a land use regulation that

imposes a substantial burden on Plaintiff’s exercise of Islam within the Township,

Defendants made an individualized assessment of the proposed uses for the property

involved.

      106. Imposition of such burdens is not in the furtherance of a compelling

government interest, and as recognized by Lodi Township, is not the least restrictive

means of furthering any governmental interest, compelling or otherwise.

      107. Plaintiff is entitled to a declaration that denial of the application as

submitted, and the zoning regulations as written and as applied, violate Plaintiff’s

First and Fourteenth Amendment rights to its free exercise of religion.

      108. Plaintiff is entitled to issuance of a permanent injunction enjoining

Defendants from enforcing any limitation upon Plaintiff’s use of the subject property

for religious uses and requiring Defendants to take whatever actions necessary to

permit Plaintiff to undertake such use.

      109. Defendant’s unlawful actions caused Plaintiff harm and it is entitled to

injunctive, declaratory, compensatory and punitive damages, in addition to all other

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relief this Court deems just and proper including costs and attorneys’ fees in this

action.

      WHEREFORE, Plaintiff respectfully requests this Honorable Court grant

injunctive relief, compensatory and punitive damages against Defendants, costs and

attorney fees, plus other equitable relief the court deems just and equitable.

                                         Count V
                    Violation of First and Fourteenth Amendment to
                               United States Constitution
                       (Establishment Clause – 42 U.S.C. §1983)
      89.     Plaintiff hereby realleges and incorporates by reference all previously

pled paragraphs as if fully set forth herein.

      90.    Defendants’ unique application of the 2019 Zoning Ordinance to

Plaintiff treats this religious organization and institution less than on equal terms

with other religious assemblies and institutions in the Township, thereby creating a

denominational preference against Islam as a religion.

      91.    Defendants’ 2024 Amendments to the zoning ordinance, done only after

Plaintiff’s application for rezoning was done with the sole intent to frustrate and

prevent Plaintiff’s ability to use the subject property for a religious

assembly/institutional use.

      92.    Defendants’ conduct was promoted or substantially caused by

Plaintiff’s religious exercise in attempting to establish an Islamic place of worship.


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      93.    Defendants have deprived, are aware they deprived, and continue to

deprive Plaintiff of its right to be free from religious discrimination in violation of

the Establishment Clause to the First Amendment to the United States Constitution

by imposing and implementing a land use regulation in a manner whose purpose and

effect is to discriminate on the basis of religion.

      94.    Plaintiff is entitled to a declaration that denial of the application as

submitted, and the 2019 zoning ordinance as written and as applied to Plaintiff, are

a violation of the Establishment Clause to the First Amendment and the Fourteenth

Amendment to the Constitution of the United States.

      95.    Plaintiff is entitled to a declaration that 2024 Amendments to the ZO as

written and as applied to Plaintiff, are a violation of the Establishment Clause to the

First Amendment and the Fourteenth Amendment to the Constitution of the United

States.

      96.    Plaintiff is entitled to issuance of a permanent injunction enjoining

Defendants from enforcing any limitation upon Plaintiff’s use of the entire subject

property for religious uses, and requiring Defendants to take whatever actions

necessary to permit Plaintiff to undertake such use.

      97.    Defendants’ unlawful actions caused Plaintiff harm and it is entitled to

injunctive, declaratory, compensatory and punitive damages, in addition to all such




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other relief this Court deems just and proper including costs and attorneys’ fees in

this action.

       WHEREFORE, Plaintiff respectfully requests this Honorable Court grant

injunctive relief, compensatory and punitive damages against Defendants, costs and

attorneys’ fees, plus other equitable relief this Court deems just and equitable.

                                          Count VI
                   Violation of the First and Fourteenth Amendment to
                              The United States Constitution
                          (Freedom of Speech – 42 U.S. C. §1983)
       98.     Plaintiff hereby realleges and incorporates by reference all previously

pled paragraph as if fully laid forth herein.

       99.     Defendants have deprived, are aware they deprived, and continue to

deprive Plaintiff of its right to speak on matters of religion as secured by the First

Amendment to the United States Constitution, made applicable to the States by the

Fourteenth Amendment to the United States Constitution, by discriminating against

Plaintiff based on the religious nature of its expression and by inhibiting its right to

freely and fully express its religious faith to Plaintiff and the community.

       100. Defendants’ imposition of a complete ban on religious uses within

every currently zoned district in the Township imposed by the Zoning Ordinance

prevented Plaintiff from using its property for religious practices and education for

nearly three years.


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      101. Defendants’ 2024 Amendments to the zoning ordinance, done only after

Plaintiff’s application for rezoning was done with the sole intent to frustrate and

prevent Plaintiff’s ability to use the subject property for a religious

assembly/institutional use.

      102. Plaintiff is entitled to a declaration that denial of the application, and

the Zoning Ordinance as written and as applied to Plaintiff, a violation of its First

Amendment right to free speech.

      103. Plaintiff is entitled to issuance of a permanent injunction enjoining

Defendants from enforcing any limitation upon Plaintiff’s use of the entire subject

property for religious uses, and requiring Defendants to take whatever actions

necessary to permit Plaintiff to undertake such use.

      104. Defendants’ unlawful actions caused Plaintiff harm and it is entitled to

injunctive, declaratory, compensatory and punitive damages, in addition to all such

other relief this Court deems just and proper including costs and attorneys’ fees in

action.

      WHEREFORE, Plaintiff requests this Honorable Court to grant injunctive

relief, compensatory and punitive damages against Defendants, costs and attorney

fees, plus other equitable relief this Court deems just and equitable.

                                       Count VII
                 Violation of First and Fourteenth Amendment to the
                              United States Constitution
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                        (Freedom of Assembly – 42 U.S.C. §1983)
      105. Plaintiff hereby realleges and incorporates by reference all previously

pled paragraphs as if fully set forth herein.

      106. Defendants have deprived, are aware they have deprived, and continue

to deprive Plaintiff of its right to freely assemble for religious purposes as secured

by the First Amendment to the United States Constitution by Prohibiting Plaintiff’s

community members from assembling in a religious place of worship for the purpose

of religious congregation, prayer, services and education.

      107. Defendants’ imposition of its 2019 Master plan and Zoning Ordinance

prevents Plaintiff from using its property for religious assembly.

      108. Defendants’ 2024 Amendments to the zoning ordinance, done only after

Plaintiff’s application for rezoning was done with the sole intent to frustrate and

prevent Plaintiff’s ability to use the subject property for a religious

assembly/institutional use.

      109. Plaintiff is entitled to a declaration that denial of its application as

submitted and the Zoning Ordinance as written as applied to Plaintiff are a violation

of its First Amendment right to freedom of assembly.

      110. Plaintiff is entitled to a permanent injunction enjoining Defendants

from enforcing an limitation upon Plaintiff’s use of the entire subject property for




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religious uses, and requiring Defendants to take whatever actions necessary to permit

Plaintiff to undertake such use.

       111. Defendants’ unlawful actions caused Plaintiff harm and it is entitled to

injunctive, declaratory, compensatory and punitive damages, in addition to all such

other relief this Court deems just and proper including costs and attorneys’ fees in

this action.

       WHEREFORE, Plaintiffs request this Honorable Court to grant injunctive

relief, compensatory and punitive damages against Defendants, costs and attorneys’

fees, plus any other equitable relief this Court deems just and equitable.

                                       Count VIII
                     Violation of the Fourteenth Amendment to the
                               United States Constitution
                         (Equal Protection – 42 U.S.C. § 1983)
       112. Plaintiff hereby realleges and incorporates by reference all previously

pled paragraphs as if fully set forth herein.

       113. Defendants have deprived, are aware they have deprived, and continue

to deprive Plaintiff of its right to equal protection of the laws as secured by the

Fourteenth Amendment to the United States Constitution by unlawfully

discriminating against Plaintiff by denying its petition on the basis of religious status

and on the basis of Plaintiff’s exercise of its fundamental rights to freedom of

religion, speech and assembly.


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      114. Denial of the application is unconstitutional in that it imposes a

substantial burden on the religious exercise of Plaintiff. Defendants have not

demonstrated that imposition of that burden is in furtherance of a compelling

government interest and is the least restrictive means of furthering that compelling

governmental interest.

      115. Plaintiff is entitled to a declaration that denial of the application as

submitted, and the 2019 Zoning Ordinance as written and as applied to Plaintiff is a

violation of Plaintiff’s Fourteenth Amendment right to equal protection of the laws.

      116. Plaintiff is entitled to a declaration that denial of the application as

submitted, and the 2024 Zoning Ordinance Amendments as written and as applied

to Plaintiff is a violation of Plaintiff’s Fourteenth Amendment right to equal

protection of the laws

      117. Plaintiff is entitled to issuance of a permanent injunction enjoining

Defendants from enforcing any limitation upon Plaintiff’s use of the entire subject

property for religious uses and requiring Defendant’s to take whatever actions

necessary to permit Plaintiff to undertake such use.

      118. Defendants’ unlawful actions caused Plaintiff harm and it is entitled to

injunctive, declaratory, compensatory and punitive damages, in addition to all other

such relief this Court deems just and proper including attorneys’ fees in this action.




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      WHEREFORE, Plaintiff respectfully requests this Honorable Court, grant

injunctive relief, compensatory and punitive damages against Defendants, costs and

attorneys’ fees, plus other equitable relief this Court deems just and equitable.

                                         Count IX
                         Violation of the Fifth Amendment to the
                                United States Constitution
                       (Substantive Due Process- 42 U.S.C. §1983)
      119. Plaintiff realleges and incorporates by reference all previously pled

paragraphs as if fully set forth herein.

      120. Plaintiff has a constitutionally protected right to utilize its property free

from the irrational, arbitrary, and capricious zoning regulations and applications

zoning regulations.

      121. By applying the zoning regulations to Plaintiff in a discriminatory

manner Plaintiff’s application, Defendants have subjected Plaintiff to irrational,

arbitrary, and capricious application of zoning regulations.

      122. By failing to make findings and a final determination on Plaintiff’s

application until they could moot it out zoning amendments that were intended to

keep Plaintiff from using their property as a place of worship and by applying

demonstrably different standards to the Plaintiff’s application for rezoning,

Defendants have subjected Plaintiff to the irrational, arbitrary, and capricious

application for zoning regulations.



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      123. Defendants’ actions towards Plaintiff’s application has no relation to

any legitimate government interest.

      124. Defendants’ amendments to the zoning ordinance have no relation to

any legitimate government interest and were done solely to frustrate Plaintiff’s

ability to use the subject property as a place of worship.

       125. Defendants’ have deprived, are aware they have deprived, and continue

to deprive Plaintiff of its right to use its property without due process of law as

secured by 42 U.S.C. §1983, by implementing a land use regulation in a manner that

discriminates on the basis of religion.

       126. Plaintiff is entitled to a declaration that the denial of the application as

submitted and the failure to provide a basis for its decision is a violation of the Fifth

Amendment to the United States Constitution

       127. Plaintiff is entitled to issuance of a permanent injunction enjoining

Defendants from enforcing any limitation upon Plaintiffs’ use of the entire subject

property for religious uses, and for requiring Defendants to take whatever actions

necessary to permit Plaintiff to undertake such use.

       128. Defendants’ unlawful actions caused Plaintiff harm and it is entitled to

injunctive, declaratory, compensatory and punitive damages, in addition to all such

other relief this Court deems just and proper including costs and attorney’s fees in

this action.

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      WHEREFORE, Plaintiff request this Honorable Court to grant injunctive

relief, compensatory and punitive damages against Defendants, costs and attorneys’

fees, plus other equitable relief this Court deems just and equitable.

Dated: July 16, 2024                    Respectfully Submitted,
                                        CAIR-MI LEGAL FUND


                                        /s/ Amy V. Doukoure
                                        Amy V. Doukoure (P80461)
                                        Attorney for Plaintiff
                                        1905 S. Haggerty Road, Suite 5
                                        Canton, MI 48188
                                        (248) 559-2247
                                        adoukoure@cair.com




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